                                                        U.S. Department of Justice
                                                        United States Attorney
                                                        Southern District of Ohio

                                                        221 East Fourth Street    Telephone: 513-684-3711
                                                        Suite 400                 Fax: 513-684-6385
                                                        Cincinnati, Ohio 45202




                                                June 5, 2023

Via E-mail
Charles A. Steed
United States Probation Officer
110 Potter Stewart U.S. Courthouse
100 East Fifth Street
Cincinnati, OH 45202
Charlie_steed@ohsp.uscourts.gov

       Re: United States v. Larry Householder
           Criminal No. 1:20-CR-77 (1)

Dear Mr. Steed,

               Defendant Householder submitted various objections for your consideration. For
ease of reference, we have included those objections in the table below, along with our response.

        Defendant’s Objection                       United States’ Response
 1      Mr. Householder objects to paragraph 12     The United States identified this mistake in its letter
        of the PSR, which states, among other       dated May 25, 2023 and proposes that the PSR include
        things, that FirstEnergy Solutions          the suggested edits outlined in the letter.
        “provided” various “legal, financial, and
        other corporate services” to FirstEnergy
        Corp. That is inaccurate. The entity that
        provided those services was FirstEnergy
        Service Co.—not FirstEnergy Solutions.
        The references to FirstEnergy Solutions
        in this paragraph should thus be struck
        and replaced with FirstEnergy Service
        Co.

 2      Mr. Householder objects to paragraph 15     Paragraph 15 is correct. Mr. Householder’s objection is
        of the PSR. That paragraph states that      a literal one. The money Mr. Longstreth used to pay
        Jeff Longstreth “also paid Householder’s    Householder’s personal expenses was not paid directly
        personal expenses in the same manner,”      from the Generation Now bank accounts. Rather, the
        meaning (we assume) by using funds          money was first laundered through other accounts used by
        from Generation Now.



                                                    1
          Defendant’s Objection                          United States’ Response
          The evidence at trial showed that              the enterprise – specifically the business accounts of Mr.
          Longstreth and Mr. Householder agreed          Longstreth, such as JPL & Associates x9192.1
          and understood that Longstreth’s
          payments of various expenses on Mr.                Mr. Longstreth testified that a) he managed the bank
          Householder’s behalf were part of loan         accounts related to the Speakership goal (goal of
          and business agreements the two had            conspiracy),2 b) that his business accounts were used to
          made. See, e.g., Tr. 2578 (Longstreth).        further that goal,3 c) that the money in his accounts came
          That evidence was undisputed. What             from Generation Now,4 and d) money that did not come
          was also undisputed is that Longstreth         directly or indirectly from Generation Now was related to
          advanced these expenses using his              the fact that Householder was his client.5 Mr. Longstreth
          personal financial accounts—not using          used the money in these accounts to pay for various
          monies directly from Generation Now.           personal expenses for Householder at Householder's
                                                         request. 6 While Longstreth initially thought he was
                                                         loaning the money to Householder, Householder never
                                                         signed loan documents and never paid him.7 Regardless of
                                                         whether the monies paid for Householder’s personal
                                                         expenses were loans, however, the salient point is that they
                                                         were paid for Householder’s benefit with FirstEnergy to
                                                         Generation Now money that was transferred to
                                                         Longstreth’s accounts. Indeed, this is precisely what
                                                         Householder meant when he asked Longstreth if he was
                                                         whole.8


    3     Mr. Householder objects to paragraph 18 The United States identified this mistake in its letter
          of the PSR. He was not—as the PSR dated May 25, 2023 and proposes that the PSR include
          indicates—Longstreth’s only client. See, the suggested edits outlined in the letter.
          e.g.,    Tr.     2777-78     (Longstreth
          acknowledging           that      Team
          Householder—around 20 candidates—
          were also his clients).

    4     Mr. Householder objects to paragraph 36        Paragraph 36, which is a summary paragraph, is
          of the PSR. The evidence did not show          correct. The United States encourages the probation
          that      FirstEnergy      Corp.      “paid    officer to edit Paragraph 36 consistent with its May 25,
          $59,996,835.86 in return for specific          2023 letter.
          official action.” This is wrong for at least
          two different reasons.                           Householder’s first objection is, again, a literal one. The
                                                         approximate $60 million paid by FirstEnergy Corp. and its

1
  See Gov. Ex. 812 (house payments made from x9192) and 806 (credit card payments made from x9192).
2
  Doc. 217, PageID 7592-93.
3
  Doc. 217, PageID 7592-93.
4
  The evidence at trial showed that roughly 86% of the money in Longstreth’s business accounts -- or roughly $15.3
million out of $17million -- came either directly or indirectly (via Ohioans for Energy Security, which was funded
by Generation Now) from Generation Now. See Gov. Ex. 34, p. 3. The remaining $2.6 million came from
numerous sources, which each compromised 2% or less of the total $17 million. Id., p. 1.
5
  E.g. Doc. 217, PageID 7603; Doc 219, PageID 7903-907.
6
  Doc. 217, PageID 7698-7600, 7615.
7
  Doc. 217, PageID 7613-14, 7617-18.
8
  Doc. 217, PageID 7614. On the single occasion when he paid for the legal settlement out of multiple accounts in
July 2018, Generation Now money was used to replenish the x9192 account. See Gov. Ex. 818 (payments related to
lawsuit) and Gov. Ex. 18, p. 2 (showing $230,000 in Generation Now transfers to JPL between July and August
2018).

                                                         2
         Defendant’s Objection                         United States’ Response
         First, FirstEnergy Corp. did not              affiliates9 was paid both directly to Generation Now and
         contribute $60 million to Generation          indirectly through its own 501(c)(4), Partners for Progress.
         Now. Instead, as the evidence at trial        Regardless of the specific path traveled – the money began
         showed, it directly contributed only $1       at FirstEnergy and its affiliates and was paid into
         million—the first four $250,000 wires in      Generation Now.
         2017. Partners for Progress, which was
         admittedly     funded      entirely    by        Householder’s second objection is meritless and is an
         FirstEnergy       Corp.,      contributed     attempt to relitigate the jury’s verdict. Householder’s
         $15,904,330.86. FirstEnergy Solutions         objection to the statement that “Longstreth also paid for
         funded the remaining $43,092,505 that         Householder’s personal expense from Generation Now,
         was contributed to Generation Now.            Inc.” should be rejected as explained in the response to
         (Attached, as Ex. A, is a summary of          Defendant’s Objection 2.
         these contributions; Ex. B is a document
         FirstEnergy Corp. produced to the
         government       that    itemizes     the
         contributions attributed to FirstEnergy
         Solutions).1 It is improper to conflate
         FirstEnergy Corp. and FirstEnergy
         Solutions.

         Second, and as discussed more below,
         the evidence did not show that all these
         contributions were “in return for specific
         official action.”

         Mr. Householder also objects to the
         statement that “Longstreth also paid for
         Householder’s personal expense from
         Generation Now, Inc.” for the reasons
         stated above.

 5       Mr. Householder objects to paragraph 51          Defendant Householder’s objection to paragraph is
         of the PSR. Under § 2C1.1(b)(1), the          meritless and an attempt to litigate the jury’s verdict
         offense level is increased based on the       in the context of the PSR. Defendant Householder says
         value of the payment. While we                “the key point is whether Mr. Householder understood that
         recognize that FirstEnergy Corp. and          these $60 million of contributions were made in return for
         FirstEnergy     Solutions     contributed     specific official action. . . .The government must establish
         around $60 million to Generation Now,         that these contributions were bribes and that Householder
         we do not think it is appropriate for that    understood as much. On this fulcrum point, the
         entire amount to constitute the value of      government’s evidence fell short.”
         the bribe payments and to result in a 22-
         level increase under the Guidelines.              Householder’s objection is nothing more than an
         Instead, it is more appropriate to            attempt to relitigate the jury’s verdict that Householder
         analyze—on        a      contribution-by-     knowingly and voluntarily joined a RICO conspiracy
         contribution level—whether a specific         involving bribery and money laundering predicates. With
         contribution was made in return for           respect to the bribe payments, the trial evidence showed
         specific official action. See, e.g.,          that Generation Now was a 501(c)(4) created for

9
  FESC and FES were both wholly owned subsidiaries of FirstEnergy Corp. at the time of the conduct in this case.
Indeed, FES only became Energy Harbor in 2020. The trial evidence also showed that factually the distinction was
meaningless as the entities coordinated their payments to Householder. For example, after receiving a hand-
delivered check for $400,000 from FES representatives in October 2018, Householder contacted FirstEnergy CEO
Jones to thank him. Gov. Ex. 290B.

                                                        3
          Defendant’s Objection                         United States’ Response
          U.S.S.G. § 2C1.1 cmt. n.2 (“[T]he             Householder’s benefit and functioned as a repository of
          applicable amounts under subsection           the bribe money from FirstEnergy. Householder was
          (b)(2) … are determined separately for        involved in the creation of Generation Now10, discussed
          each incident and then added together.”);     the name of entity with Longstreth,11 and, as discussed in
          see also United States v. Ring, 811 F.        detail below, directly solicited money from the
          Supp. 2d 359, 378 (D.D.C. 2011)               FirstEnergy CEO Chuck Jones during the course of the
          (“Bribery requires the corrupt intent to      scheme, in exchange for specific official action.
          exchange things of value for official acts,
          while an illegal gratuity need only be          Yet, even if one examined the FirstEnergy payments at
          given ‘for or because of’ an official act.    a micro level, the evidence at trial demonstrated that
          The Guidelines reflect this distinction       Householder knew and even solicited, himself, the
          not only with different base offense          payments in exchange for specific official action. For
          levels for bribery (10) and illegal           example, in 2017, FirstEnergy promised to give
          gratuities (7), but also by allowing for an   Householder $1 million by year’s end, and this was
          enhancement based on ‘benefit received        communicated directly to Householder by FirstEnergy
          or to be received’ under § 2C1.1              CEO Jones. 12 In fact, Longstreth learned about the $1
          (bribery), but not under § 2C1.2 (illegal     million from Householder. 13 This followed shortly after
          gratuities)”).                                the D.C. trip, where Householder flew on the FirstEnergy
                                                        jet and dined with FirstEnergy executives who explained
          The key point is whether Mr.                  the legislative solution they sought while agreeing to
          Householder understood these $60              financially support Householder.14 The commitment and
          million of contributions were made in         agreement was confirmed again at the Greenbrier in
          return for specific official action. This     August 2017, where Jones told Longstreth that they had
          conclusion follows from the Guidelines’       “to get Larry over the line because I know he won’t
          definition of relevant conduct: the scope     anything bad happen to us.”15
          of a defendant’s jointly undertaken
          activity “is not necessarily the same as       The following year, 2018, was a continuation of the
          the scope of the entire conspiracy, and    previous one – whenever the Generation Now bank
          hence relevant conduct is not necessarily  account balance was low, Householder solicited more
          the same for every participant.” U.S.S.G.  money from FirstEnergy. FirstEnergy then funded the
          § 1B1.3, cmt. n.3(B). The government       account for Householder’s speakership run, who would
          must establish that these contributions    then pass a legislative solution once elected. Consistent
          were bribes and that Mr. Householder       with this, in recorded meetings, co-conspirator Neil Clark
          understood as much. On this fulcrum        stated, “We call FirstEnergy the bank,” because they could
          point, the government’s evidence fell      continue to go back to FirstEnergy for more money. 16
          short.                                     Clark also stated that Householder took millions from
                                                     FirstEnergy and “went to war for them,” later
          Alternatively, the evidence at trial characterizing his actions as “pay to play.”17
          established, at best, that only a $400,000
          October 2018 contribution made by              For example, in early August 2018, Generation Now’s
          FirstEnergy Solution and hand delivered account balance fell to just $2022.18 Householder met with
          by Juan Cespedes and others to Mr. Jones around the same time.19 Prior to the meeting with

10
   Doc. 217, 7643.
11
   Doc. 217, 7643-44.
12
   Doc. 217, PageID 7640.
13
   Doc. 217, PageID 7640.
14
   Doc. 217, PageID 7636-38.
15
   Doc. 217, PageID 7624.
16
   Gov. Ex. 527B, p. 13.
17
   Gov Ex. 525B, p. 6-7.
18
   Gov. Ex. 14C, pages 37-38.
19
   Gov. Ex. 286B.

                                                        4
         Defendant’s Objection                       United States’ Response
         Householder was made in return for          Householder, Jones texted FirstEnergy executive Michael
         specific official action.     For these     Dowling, asking, “Householder looking for more
         reasons, we object to paragraph 51 of the   money?”20 Dowling responded, “You know the answer to
         PSR and request that you apply no           the Householder question, but I don’t know for how much
         increase or only a 12-level increase. See   he’ll ask. . . . He’ll want hard money first and then C(4)
         U.S.S.G. § 2B1.1.(b)(1).                    money for sure.” 21 Following the meeting, FirstEnergy
                                                     wired $500,000 to Generation Now through Partners for
                                                     Progress.22 Afterwards, Householder texted Jones, “Thank
                                                     you for your help,” to which Jones said, “ We are rooting
                                                     for you and your team.” Householder replied, “I’m
                                                     rooting for you as well . . . we are on the same team.”23

                                                       Similarly, Householder requested more money from
                                                     FirstEnergy in October 2018. Longstreth testified about a
                                                     particular stark example in October 2018, close to the 2018
                                                     general election, when Householder needed more money
                                                     and traveled to Akron to meet with the FirstEnergy CEO
                                                     (Chuck Jones) to solicit money. Shortly after the meeting,
                                                     FirstEnergy sent additional funds for Householder. Text
                                                     messages between Householder and Jones, and Jones and
                                                     Dowling corroborate Longstreth’s testimony. 24
                                                     Specifically, Dowling texted Jones about the $700,000
                                                     after Jones met with Householder in October 2018, stating
                                                     “we believe in Larry and think he can and will be Ohio’s
                                                     next Speaker.”25 In addition, Cespedes testified about two
                                                     checks totaling $500,000 that he hand delivered in
                                                     separate meetings with Householder and Longstreth to
                                                     advance the legislation.

                                                       The payments in 2017 and 2018 gave Householder the
                                                     financial means to win the Speaker’s race, including by
                                                     paying for infrastructure like staff and rent, and personal
                                                     benefits. The understanding was that once Householder
                                                     was elected Speaker, he would pass a legislative solution
                                                     for FirstEnergy and its affiliates. FirstEnergy and its
                                                     affiliates continued to make payments to Generation Now
                                                     in 2019. These payments continued to pay for
                                                     Householder’s infrastructure, political staff, and personal
                                                     benefits, and for Householder to use to pass and preserve
                                                     HB 6. As Clark stated in a recorded meeting, the money
                                                     from FirstEnergy was “unlimited.” Regarding the
                                                     payments made while H.B. 6 was pending before the
                                                     House in the spring of 2019, Cespedes testified that
                                                     FirstEnergy Solutions had to pay $15 million into
                                                     Generation Now “if we expected to . . . have continued


20
   Gov. Ex. 286A.
21
   Gov. Ex. 286A.
22
   Gov. Ex. 14E.
23
   Gov. Ex. 286C.
24
   Gov. Ex. 295A, 295B, 295D.
25
   Gov Ex. 295E.

                                                     5
         Defendant’s Objection                         United States’ Response
                                                       support, you know, of our legislation.” 26 Cespedes
                                                       explained, “we had no choice” but to pay $15 million
                                                       through Generation Now, at Householder’s direction. 27
                                                       While these payments were being made, Clark explained
                                                       in a recorded meeting: “FirstEnergy got $1.3 billion in
                                                       subsidies, free payments. . . . So yeah, so what do they care
                                                       about putting in $20,000,000 a year for this thing.”28

                                                         In August 2019, FirstEnergy Solutions paid $38,738,581
                                                       into Generation Now to defeat the ballot campaign, which
                                                       included a plan for Householder to introduce alternate
                                                       legislation, if necessary.29 The plan also included efforts
                                                       to convince Attorney General Yost to take official action
                                                       that would help them defeat the ballot campaign. 30
                                                       Cespedes confirmed that they put a lot of effort into getting
                                                       Yost to interpret HB 6 as a tax because of Yost’s history
                                                       with the FirstEnergy (i.e., his receipt of payments from
                                                       FirstEnergy) and Yost’s relationship with Borges. 31
                                                       Borges and Householder worked together in their efforts
                                                       to convince Yost to take the action they were seeking as
                                                       part of a “two-prong approach.”32

                                                         After the ballot campaign, FirstEnergy continued to pay
                                                       Generation Now following a solicitation by Householder.
                                                       For example, in February 2020, Householder contacted
                                                       Jones about Householder’s term limits initiative.
                                                       Following the conversation, Jones referred to Householder
                                                       as “an expensive friend” 33 and FirstEnergy caused
                                                       Partners for Progress to wire $2 million to Generation
                                                       Now. 34 Regarding Householder’s solicitation, Dowling
                                                       remarked “it extends and stabilizes existing leadership –
                                                       good for the home team.” 35 Clark made a similar
                                                       solicitation of Cespedes for Energy Harbor (formerly
                                                       FirstEnergy Solutions) to support Householder’s term
                                                       limits initiative. Cespedes testified that Clark was clear
                                                       that his conversations were about exchanging Energy
                                                       Harbor’s support for official action by Householder
                                                       relating to additional years of the House Bill 6 subsidy.36


26
   Doc. 211,PageID 6811–12.
27
   Doc. 211, PageID 6813–17.
28
   Gov. Ex. 528B, pages 4-5.
29
   Doc. 211, PageID 6844–50; Doc. 213, PageID 7072; Gov Ex. 601C (7/24/2019 Kiani text message to Dowling
(“We are taking Householder’s lead on fighting the referendum.”); Gov. Ex. 601D 7/26/2019 Dowling text message
to Kiani (“I had a good conversation with Speaker H today re: the referendum issue. I think you’re in excellent
hands. I know more about his personal involvement and engagement. We should all be following his lead.”).
30
   Doc. 212, PageID 6870.
31
   Doc. 211, PageID 6840-41.
32
   Doc. 212, PageID 6867–70.
33
   Gov. Ex. 330A.
34
   Gov. Ex. 330E.
35
   Gov. Ex. 330G
36
   Doc. 212, PageID 6922.

                                                       6
          Defendant’s Objection                          United States’ Response
 6        Mr. Householder objects to paragraphs          The PSR correctly applied the adjustment for
          55-56 of the PSR. To apply this                obstruction of justice in paragraphs 55 and 56. Mr.
          enhancement for perjury, “the court must       Householder willfully made numerous false, material
          1) identify those particular portions of       statements during his testimony. United States v.
          defendant's testimony that it considers to     Kennedy, 714 F.3d 951, 962 (6th Cir. 2013)(elements of
          be perjurious; and 2) either make a            perjury related the obstruction enhancement are “false
          specific finding for each element of           testimony concerning a material matter with the willful
          perjury or, at least, make a finding that      intent to provide false testimony, rather than as a result of
          encompasses all of the factual predicates      confusion, mistake, or faulty memory.”). For example:
          for a finding of perjury.” United States v.
          Kennedy, 714 F.3d 951, 961-62 (6th Cir.                 January 2017 Trip to Washington, D.C.
          2013) (cleaned up). But “confusion,               Householder testified falsely regarding his trip to
          mistake, or faulty memory” are not             Washington, D.C. in 2017 in several respects. First,
          sufficient to justify the enhancement. Id.     Householder testified that on January 18, 2017, he arrived
          Mr. Householder’s testimony—in late            in D.C. with his son, Luke, and they went to a Marcus
          February and early March 2023—about            Luttrell event. 37 When asked, “what did you do next,”
          a dinner in Washington, D.C. six years         Householder testified that he walked around D.C. with his
          earlier was not perjurious.                    son; they were then tired, so they went back to their hotel
                                                         room and unpacked their bags because his wife and two
          Indeed, even Longstreth testified              other sons were arriving the next day. 38 Householder
          inconsistently about who attended this         testified that he never had dinner with Chuck Jones, Mike
          January 18, 2017 dinner in Washington,         Dowling, and Jeff Longstreth while in D.C.; 39 and he
          D.C. He insisted that Charles Jones            testified that he did not have dinner at the Charlie Palmer
          attended the dinner, but the evidence          Steakhouse on January 18, 2017. 40 Householder also
          showed that Jones was in Florida at the        testified that he only saw Dowling while flying to and from
          time and did not arrive in Washington,         D.C. and briefly at a luncheon41 which was in the early
          D.C. until the following day. See HX           afternoon on January 19, 2017.42
          468; HX 479 at 9. Does that amount to
          perjury, or does it simply show that these       A combination of testimony and exhibits show
          witnesses may have been confused or            Householder’s account was false. For example, although
          mistaken about who exactly attended a          Householder testified that he stayed in his hotel for the rest
          dinner six years earlier? Mr.                  of the evening on January 18, 2017, following the Luttrell
          Householder’s testimony was not                event, metadata from photographs taken that night show a)
          perjurious.                                    Householder and his son in a limousine with FirstEnergy
                                                         executive Mike Dowling and Mike Cary, and b)
                                                         Householder later at a bar with Mike Carey and others
                                                         until at least 10:30 p.m.43

                                                          In terms of the dinner at Charlie Palmer steakhouse,
                                                         which Householder testified he did not attend, metadata,

37
   Doc. 228, PageID 8514-15. The Luttrell event occurred from 4:30p.m. to 6:30p.m. according to an itinerary (Gov.
Ex. 216B) and metadata from photos taken at the event (Gov. Ex. 911 – photos taken at 4:52 p.m. and 4:53 p.m.);
see also Doc. 229, PageID 8657-60 (Householder testimony about Gov. Ex. 911).
38
   Doc. 228, PageID 8515.
39
   Doc. 228, PageID 8523.
40
   Doc. 228, PageID 8527.
41
   Doc. 228, PageID 8530.
42
   Doc. 228, PageID 8515-17; Gov. Ex. 215B is a FirstEnergy itinerary, which shows the Amer-I-can luncheon was
from 11:00am-1:00p.m. on Jan. 19, 2017.
43
   Gov. Ex. 911 (group of photos from January 18, 2017 showing Householder and his sone at the Luttrell event at
4:52 p.m. and Householder at the Dubliner bar at 10:30 p.m., and a photo taken in a limousine where Householder’s
pants’ leg is visible, along with his son, who is wearing the same clothes as he was earlier at the Luttrell event.);
911A.

                                                          7
             Defendant’s Objection                   United States’ Response
                                                     again, from the limousine photograph with Dowling,
                                                     shows that the photograph was taken from January 18,
                                                     2017 at 10:20p.m. outside the Charlie Palmer
                                                     steakhouse. 44 Householder attending the dinner at the
                                                     Charlie Palmer Steakhouse with Dowling is further
                                                     corroborated by Longstreth’s testimony that Householder
                                                     attended the event at the Charlie Palmer Steakhouse on
                                                     January 18, 2017. Moreover, an itinerary received from
                                                     FirstEnergy, lists a dinner reservation “for 6 ppl under
                                                     Larry Householder” at the Charlie Palmer steakhouse on
                                                     January 18, 2017. 45 In addition, an expense report for
                                                     Dowling received from FirstEnergy shows that, on
                                                     January 18, 2017, a dinner group (which included
                                                     Longstreth and Carey) went from the Charlie Palmer
                                                     Steakhouse to a bar in a “Taxi, Limo.”46

                                                       This evidence shows that Householder’s testimony
                                                     about what he and his son did on Jan. 18, 2017 was false—
                                                     on January 18, he did not go back to his hotel with Luke
                                                     after the Luttrell event; rather, they were at the Charlie
                                                     Palmer steakhouse, they road in a limousine with Mike
                                                     Dowling and others at 10:20p.m., and Householder was at
                                                     a event with these same individuals from the limousine at
                                                     10:30p.m., later that night. This also means
                                                     Householder’s testimony that his only interaction with
                                                     Dowling was on the flights and briefly at the luncheon was
                                                     false—he and his son were with Dowling on January 18.

                                                        Householder also provided false testimony regarding
                                                     his accommodations. Householder testified that the
                                                     Republican party paid for his hotel room in Washington,
                                                     D.C., but emails sent to him from Tony George -- the
                                                     friend who flew on the FirstEnergy jet with him who had
                                                     the connections to FirstEnergy, booked and paid for rooms
                                                     for him and Chuck Jones at the same hotel, just minutes
                                                     apart in early January 2017. 47 These accommodations
                                                     were not disclosed on Householder’s ethics disclosure.48

                                                        Householder’s falsehoods about his January 2017 trip to
                                                     Washington, D.C. were material because the evidence
                                                     showed that significant discussions about FirstEnergy’s
                                                     funding of Householder’s 501(c)(4) occurred during the
                                                     trip. Householder’s misstatements were designed to
                                                     minimize his interactions with FirstEnergy executives
                                                     during the trip and thus his knowledge regarding any
                                                     discussions of FirstEnergy payments into the 501(c)(4).

44
   Gov. Ex. 911A.
45
   Gov. Ex. 215B.
46
   LH Ex. 478.
47
   Doc. 219, PageID 8670-8674; Def. Ex. 479, p. 5.
48
     Doc. 219, PageID 8778-79; Gov. Ex. 901.

                                                     8
          Defendant’s Objection                         United States’ Response
                                                                              Generation Now
                                                           During his testimony, Householder attempted to
                                                        minimize his knowledge and involvement in Generation
                                                        Now. Among other things, he claimed “that Generation
                                                        Now was formed to make the public – to educate the
                                                        public on issues and to support candidates who support
                                                        those issues. 49 Householder refused to answer whether
                                                        Generation Now was a 501(c)(4) created for his benefit.50
                                                        Yet, the evidence at trial showed that Householder was
                                                        intimately involved in Generation Now, even though his
                                                        name was not on the paperwork. Householder was one of
                                                        three people who attended weekly staff meetings about
                                                        Generation Now’s goals, fundraising, messaging, and
                                                        budget. 51 Householder worked out of an office space
                                                        subleased by Friends of Larry Householder and
                                                        Generation Now, 52 and knew enough about Generation
                                                        Now’s finances to have a phone call with Neil Clark about
                                                        a specific check Generation Now had received from
                                                        Clark’s clients.53 Moreover, during the call, Householder
                                                        referred to Generation Now as “we”, as in “we’ve got two
                                                        checks,” showing that he regarded himself as part of
                                                        Generation Now.54 In addition, the evidence showed that
                                                        Householder had contacted Jones about Generation Now.
                                                        For example, Government Exhibit 222B, is an email
                                                        Longstreth sent to FirstEnergy executive Michael
                                                        Dowling on February 6, 2017, a few weeks after the D.C.
                                                        trip, stating, “Attached, please find the wiring instructions
                                                        for Generation Now, Inc. that we discussed on Thursday.
                                                        This is the organization that Chuck and Larry discussed.”
                                                        (emphasis added).

                                                                             Draft Legislation
                                                           Householder testified that he didn’t know FES was
                                                        working on drafts of legislation (what became HB 6) and
                                                        that he had never seen them.55 However, his testimony
                                                        was contradicted by Government Exhibit 915, which was
                                                        an FES draft of legislation that the FBI recovered from his
                                                        office.56 In addition, Government Exhibit 204E, showed a
                                                        calendar entry for a meeting between FES and
                                                        Householder in January 2019, close in time to the date of
                                                        the draft legislation recovered from his office. 57 This
                                                        evidence was material because it was evidence the jury

49
   Doc. 229, PageID 8688.
50
   Doc. 229, PageID 8689.
51
   Gov Ex. 201H; Doc 229, PageID 8703-8705 (testimony about staff meeting document).
52
   Doc. 229, PageID 8692-8694.
53
   Gov. Ex. 271A (2:44 to 3:31 recorded call of Householder referencing specific $10,000 check from Generation
Now account that “we got.”).
54
   Gov. Ex. 271A.
55
   Doc. 219, PageID 8714.
56
   Doc. 219, PageID 8790-92 (Agent Wetzel testimony regarding Exhibit 915).
57
   See Gov. Ex. 204E, p. 152.

                                                        9
          Defendant’s Objection                           United States’ Response
                                                          could consider in determining the existence of a bribery
                                                          agreement with FirstEnergy and its affiliates: the evidence
                                                          showed that less than a month after Householder became
                                                          Speaker, he met with FES about what became H.B. 6 a few
                                                          months later.

                                                                      Deletion of Messages about H.B. 6
                                                             In May 2020, shortly before H.B. 6 came before the
                                                          House for a vote, Householder was worried he didn’t have
                                                          the votes necessary to secure passage. In the days leading
                                                          up the vote, Householder texted Representative Greenspan
                                                          to vote for H.B. 6. Householder testified that he “did not
                                                          ask Jeff Longstreth to get those messages [text messages
                                                          with Dave Greenspan] deleted.”58 This was contradicted
                                                          by three pieces of evidence. First, Longstreth testified that
                                                          Householder asked him to have a third-party contact
                                                          Greenspan to delete his text messages 59 Second,
                                                          Longstreth’s testimony was in turn corroborated by
                                                          Government Exhibit 483(c)60, which was a text message
                                                          between Longstreth and the third party about a
                                                          “homework assignment,” i.e., getting Greenspan to delete
                                                          the messages. Third, Greenspan corroborated this
                                                          evidence, testifying that the third party that Longstreth had
                                                          texted, was the person who called him and instructed him
                                                          to delete his text messages with Householder.61

                                                              At a minimum, the request to delete the text messages
                                                          constituted obstruction and consciousness of guilt – that
                                                          Householder knew what he was doing was wrong and
                                                          didn’t want the public to find out. In addition, the text
                                                          messages to Greenspan themselves were evidence of an
                                                          illegal bribery agreement in that they demonstrated the
                                                          importance of HB 6 to Householder – such that
                                                          Householder was willing to pressure representatives for
                                                          their votes on HB 6.

 7        Mr. Householder objects to paragraph 60 Defendant Householder’s objection to paragraph 60 of
          of the PSR. The total offense level the PSR should be rejected for the same reasons as
          should be a level 24 or 36.             objection 5.

 8        Mr. Householder objects to paragraph 79 Defendant Householder’s objection is meritless. In
          of the PSR. That paragraph indicates that fact, the PSR undervalues his farm -- to his benefit – as
          the Perry County Auditor estimated the shown by Householder’s own Exhibit C. Defendant

58
   Doc. 229, PageID 8779-80.
59
   Doc. 217, PageID 7691 (Longstreth explaining that Householder “asked me to have a mutual friend of ours ask
Mr. Greenspan to delete his text messages between Mr. Householder and Mr. Greenspan so that they weren't
available for a public records request.”).
60
   The text message Longstreth sent to the third party said, “SLH was so funny after you left. He said, yeah, that guy
is going to be great. He took a homework assignment and went out on a mission. I really like that guy. He’s going to
be great for the team”; Doc. 217, PageID 7693 (testimony about exhibit).
61
   Doc 219, PageID 7965 (Greenspan’s testifying that, “I was instructed to delete all of the text messages between
Speaker Householder and myself”).

                                                         10
     Defendant’s Objection                  United States’ Response
     value of Mr. Householder’s farm at     Householder’s proposed value ($341,890) is comprised of
     $539,550. According to the Auditor’s   the Improvements Value ($259,680) and the Land Value
                                            ($82,210). See Ex. C, p. 5. However, the Land Value
     website, the appraised value is $341,890.
     (Ex. C).                               amount of $82,210 on page 5 is actually the CAUV value
                                            from page 2. This is a rate set by the Ohio Department of
     That adjustment also reduces the value Taxation to lower the tax bill for farmers. According to
     of Mr. Householder’s assets by nearly the Ohio Department of Taxation, “(f)or property tax
     $200,000.                              purposes, farmland devoted exclusively to commercial
                                            agriculture may be valued according to its current use
                                            rather than at its ‘highest and best’ potential use. This
                                            provision of Ohio law is known as the Current Agricultural
                                            Use Value (CAUV) program. By permitting values to be
                                            set well below true market values, the CAUV normally
                                            results in a substantially lower tax bill for working
                                            farmers.”    See     https://tax.ohio.gov/government/real-
                                            state/cauv. Thus, the actual value of Householder’s farm
                                            land is $328,000, Exhibit C, p. 2, resulting in a total of
                                            $587,680.

9    Mr. Householder objects to paragraph 81     The income and assets listed in paragraphs 77, 78, and
     of the PSR. He does not have the ability    79 suggest the ability to pay a fine. The United States
     to pay a fine. As the PSR notes, Mr.        defers to the sound judgment of the probation officer
     Householder has a negative monthly          in this regard.
     cash flow, is unemployed, and faces,
     among other things, a civil lawsuit filed
     by the Ohio Attorney General in
     Franklin County.4 See State ex rel. Yost
     v. FirstEnergy Corp. et al., Nos. 20-cv-
     6281 & 20-cv-7386 (consolidated)
     (Franklin C.P.). In short, Mr.
     Householder’s liabilities exceed his
     assets (most of which he jointly owns
     with his wife anyway), and at 64 years
     old, a convicted felon, and facing a
     potentially lengthy custodial sentence,
     he does not have many, if any, prospects
     to make money going forward. He does
     not have the ability to pay a fine.

10   Mr. Householder objects to paragraphs       The United States submits that paragraphs 90 and 92
     90 and 92 of the PSR. The maximum           of the PSR are accurate.
     fine is not almost $120 million. The
     RICO statute permits the Court to
     impose a fine of “not more than twice
     the gross profits or other proceeds.” 18
     U.S.C. § 1963(a). The Seventh Circuit
     has held that this means “profits net of
     the costs of the criminal business,” not
     simply gross receipts. United States v.
     Genova, 333 F.3d 750, 761 (7th Cir.
     2003). While admittedly a few other
     circuit courts disagree with that


                                                 11
        Defendant’s Objection                      United States’ Response
        reasoning, see United States v.
        Christensen, 828 F.3d 763, 822 (9th Cir.
        2016) (collecting cases), the Sixth
        Circuit has not yet weighed in. We
        submit that the Court adopt the Genova
        court’s rationale. See United States v.
        Santos, 553 U.S. 507, 514 (2008)
        (holding that the word “proceeds” in a
        different criminal statute meant
        “profits,” not receipts). As a result, the
        government must show profits, not
        simply what Generation Now received.
        It has not done so.
        The maximum fine is not $120 million.




                                                   Very truly yours,

                                                   KENNETH L. PARKER
                                                   United States Attorney

                                                   /s/ Emily N. Glatfelter
                                                   EMILY N. GLATFELTER
                                                   MATTHEW C. SINGER
                                                   MEGAN GAFFNEY PAINTER
                                                   Assistant United States Attorneys




cc: counsel for Larry Householder




                                                12
